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 1                               UNITED STATES DISTRICT COURT

 2                           EASTERN DISTRICT OF CALIFORNIA

 3 UNITED STATES OF AMERICA                          )    CASE No. CR 2:20-CR-0134 JAM
                                                     )
 4                  Plaintiff,                       )    PROTECTIVE
                                                     )    ORDER PURSUANT TO SECTION
 5          V.                                       )    4 OF THE CLASSIFIED
                                                     )    INFORMATION PROCEDURES
 6   TANG JUAN,                                      )    ACT AND FEDERAL RULE OF
          a/k/a JUAN TANG,                           )    CRIMINAL PROCEDURE 16(d)(l)
 7                                                   )
                     Defendant.                      )
 8
                                              ORDER
 9

10          The Court, having carefully considered the Government's Third Ex Parte, In

11   Camera, Under Seal Motion for an Order Pursuant to Section 4 of the Classified

12 Procedures Act and Federal Rule of Criminal Procedure 16(d)(l), and Memorandum of

13   Points and Authorities in Support Thereof (collectively, "Motion"), and the Exhibits filed

14 therewith, hereby GRANTS the Government's Motion in its entirety.
15          The Court finds that the Government's Motion was properly filed ex parte, in

16   camera, for this Court's review, pursuant to CIPA Section 4 and Fed. R. Crim. P.

17   16(d)(l). The Court has conducted an ex parte, in camera review of the Government's

18   classified Motion and Exhibits.
19          On the basis of the Court's review of the arguments set forth in the Government's

20   Motion and the classified declarations, the Court finds that the classified information

21   referenced in the Government's Motion implicates the Government's classified

22   information privilege because the information is properly classified and its disclosure

23   could cause serious and exceptionally grave damage to the national security of the United

24   States. Furthermore, the Court finds that none of the classified information is

25   exculpatory. See Brady v. Maryland, 373 U.S. 83 (1963).
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 1          Additionally, the Court finds that the "relevant and helpful" standard articulated

 2   in United States v. Roviaro, 353 U.S. 53 (1957), and United States v. Yunis, 867 F.2d 617

 3 (D.C. Cir. 1989), is the appropriate standard by which to analyze whether the government

 4 must disclose in discovery classified information where, as here, the government has

 5 properly invoked the classified information privilege. See also United States v.

 6 Sarkissian, 841 F.2d 959 (9th Cir. 1988). To this end, the Court finds that in applying the

 7 Roviaro/Yunis standard, none of the classified information referenced in the

 8 Government's Motion is relevant and helpful to the defense. The Court also finds that

 9 the withholdings authorized by this Order are consistent with the Government's

10 discovery obligations under Federal Rule of Criminal Procedure 16, and Brady v.

11   Maryland, Giglio v. United States, and their progeny.

12          Accordingly, IT IS ORDERED that the Government is authorized to withhold the

13   specified classified information outlined above from discovery to defendant.

14           IT IS FURTHER ORDERED that the Government's Third Motion, the

15   accompanying Exhibits, and the classified ex parte Order shall not be disclosed to

16 defendant, and shall be sealed and maintained in a facility appropriate for the storage of

17   such classified information by the Classified Information Security Officer as the designee

18   of the Clerk of Court, in accordance with established security procedures, for any future

19   review, until further order of this Court.

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21          IT IS SO ORDERED, on this         14-1°1" day of   J~dy ,2021.
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                                            J~E??l·~
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF CALIFORNIA
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